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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

BEFORE: JAMES M. WICKS, U.S. MAGISTRATE JUDGE                                 DATE: 09/26/2024
                                                                              TIME: 12:00 PM
                                                                        ☐ SEALED PROCEEDING

                      CIVIL CAUSE FOR INITIAL CONFERENCE
        CASE: 2:24-cv-03775-NJC-JMW-Barbara v. Ivyrehab Peak Performance, LLC

APPEARANCES:

      For Plaintiff:        James E. Bahamonde

      For Defendant:        Erika Hannah Rosenblum

Court Reporter/FTR:         12:06-12:13 (Video)


THE FOLLOWING RULINGS WERE MADE:

☒     Initial Conference held.

☒     Following discussion with counsel and review of the submitted worksheet, the Court adopted a
      Scheduling Order which is attached at ECF No. 16. In addition to the dates set forth below, the
      last date to take the first steps towards summary judgment shall be on or before June 20, 2025.
☒     A Status Conference has been scheduled for February 21, 2025 at 9:30 AM via the Court’s
      Video Zoom. The Court will email the Zoom invitation closer to the conference date. This
      conference is a public proceeding, and all are welcome to attend via telephone or via video. If
      you would like to receive the Zoom invitation, please contact Judge Wicks’ Courtroom Deputy
      at (631) 712-5625. Parties shall comply with Judge Wicks’ Individual Rules regarding
      Expectations for Remote Appearances (Rule §1E).

☒     A Final Pretrial Conference has been scheduled for July 21, 2025 at 10:00 AM via the Court’s
      Video Zoom. The Court will email the Zoom invitation closer to the conference date. This
      conference is a public proceeding, and all are welcome to attend via telephone or via video. If
      you would like to receive the Zoom invitation, please contact Judge Wicks’ Courtroom Deputy
      at (631) 712-5625. Parties shall comply with Judge Wicks’ Individual Rules regarding
      Expectations for Remote Appearances (Rule §1E). A joint proposed pretrial order (“JPTO”) in
      compliance with the Individual Practice Rules of the Hon. Nusrat Jahan Choudhury, signed by
      counsel for each party, must be filed on ECF at least five (5) business days prior to this
      conference. If a motion for summary judgment is pending, the final pretrial conference will be
      cancelled and filing of the JPTO will be held in abeyance.

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        THE PARTIES ARE REMINDED that audio or video recording of proceedings by any party
other than the Court is strictly prohibited by Local Civil Rule 1.8. Violation of this rule may result in
sanctions, including removal of court issued media credentials, restricted entry to future hearings, denial
of entry to future hearings, or any other sanctions deemed appropriate by the Court.


                                                     SO ORDERED
                                                      /s/James M. Wicks
                                                     JAMES M. WICKS
                                                     United States Magistrate Judge




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